Case 2:23-cr-00146-NR Document 3-6 Filed 06/28/23 Page 1 of 2

CRIMINAL CASE INFORMATION SHEET 9. tS -OY- | Ylp “2
Pittsburgh x Erie Johnstown
Related to No. Judge

(All criminal prosecutions arising out of the same criminal transaction or series of transactions are
deemed related).

CATEGORY: 1. Narcotics and Other Controlled Substances
la. ___ Narcotics and Other Controlled Substances
(3 or more Defendants)
2, _____ Fraud and Property Offenses
2a. _ Fraud and Property Offenses

(3 or more Defendants)

3 XX Crimes of Violence

4 Sex Offenses

5. Firearms and Explosives

6 Immigration

7 All Others
Defendant’s name: KRYSTAL DIPIPPA
Is indictment waived: Yes x No
Pretrial Diversion: Yes X No
Juvenile proceeding: Yes & No
Defendant is: Male X Female
Superseding indictment or information Yes xX No

Previous case number:

If superseding, previous case was/will be:

Dismissed on defendant’s motion
Dismissed on government’s motion
After appellate action

Other (explain)

County in which first offense cited
occurred: ALLEGHENY

Previous proceedings before
Magistrate Judge:

Case No.:

PLEASE INCORPORATE MAGISTRATE CASE WITH CRIMINAL CASE
Case 2:23-cr-00146-NR

Date arrested or date continuous U.S.

custody began:
Defendant:
Name of Institution:

Custody is on:

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is in custody X_ is not in custody

this charge another charge

another conviction

__ State ___ Federal

Detainer filed: ____syes no

Date detainer filed:

Total defendants: 2

Total counts: 3

Data below applies to defendant No.: 2

Defendant’s name: Krystal DiPippa

SUMMARY OF COUNTS
COUNT U.S. CODE OFFENSE FELONY MISDEMEANOR

l 18 U.S.C. § 371 Conspiracy x
2 18 U.S.C. §§ 2 and 23 1(a)(3) Obstruction of Law Enforcement x

During Civil Disorder

I certify that to the best of my knowledge the above entries are true and correct.

DATE: June 28, 2023

s/Shaun E. Sweeney

SHAUN E. SWEENEY
Assistant U.S. Attorney
PA ID No. 53568
